Case 1:OO-cV-01050-.]DB Document 170 Filed 07/18/05 Page 1 of 4 Page|D 118

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IN THE UNITED STATES DISTRICT COUR l
FOR THE WES'I`ERN DISTRICT OF TENNESS,§§JU“ 1 8 AH |0: 28

 

EASTERN DIVISION

BERRELL FREEMAN, PAUL NEMCHEK, )
LUIs NIEVES, )
)
Plaimiffs, )
)

vs. ) No.: l:00cv1050-'B
)
CORRECTIONS CORPORATION )
OF` AMERICA, et al., )
)
Defendants. )

 

ORDER

 

Having considered Defendants’ Motion for Substitution of Counsel, it is,

HEREBY ORDERED that James I. Pentecost and Brandon O. Gibson of Pentecost,
Glenn & Rudd, PLLC, be substituted for Tom Anderson as lead counsel for the Defendants,
Corrections Coiporation of America, Prison Realty Trust, lnc., Correctional Management, Prison
l\/Ianagement, Doctor Crants, Mike Tweedy, David Payne, Benny Reeves, Christopher Carey,
Steve Dotson, Patrick Whalen, Kevin Griffin, Tonya Boyd and Robert Adams and it is,

ORDERED that Tom Anderson be removed as counsel for the named Defendants from
the court’s docket and matrix and that it be amended to reflect J ames l. Pentecost and Brandon
O. Gibson of Pentecost, Glenn & Rudd, PLLC .

lT lS SO ORDERED.

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with F\u\e ,_.___,____ K_,.. _,___/»»

Case 1:OO-cV-01050-.]DB Document 170 Filed 07/18/05 Page 2 of 4 Page|D 119

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APPROVED FOR ENTRY:

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BRANDON O. GIBSON

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JOSEPH WELBORN

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COUNSEL FOR DEFENDANTS

CERTIFICATE OF SERVICE

l hereby certify that a true and exact copy of the foregoing Order been sent by United
States mail, postage prepaid, to Mr. Mark L. Thomsen, Cannon & Dunphy, S.C., P.O. Box
1750, Brookfield, WI, 53 008-1 750', MS. Robin Shellow, LaW Ofiices ofRobin Shellow, 324
West Vine Street, Milwaukee. WI, 53212; Mr. Patrick T. McNalIy, 424 Church Street, 22nd
Floor Sun Trust Center, Nashville, TN 37219 and Mr. Fred Collins, Flippin, Collins, & Huey,
1066 South Main Street, Milan, Tennessee 38358; this 13 day ofJuly, 2005.

MMM»Mé/M

BRANDON O. GIBSON

   

UNITS,ED`ATSEDSTIRIC COURT - WTERN DISTRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 170 in
case 1:00-CV-01050 Was distributed by faX, mail, or direct printing on
July 18, 2005 to the parties listed.

 

 

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US DISTRICT COURT

